                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

Andrea McKinley,                                           Civil Action No. 3:21-cv-241

                   Plaintiff,                               NOTICE OF REMOVAL

       v.

UBS Financial Services, Inc.,

                   Defendant.


       Defendant UBS Financial Services, Inc. (“Defendant” or “UBS”) removes the above-

entitled action styled Andrea McKinley v. UBS Financial Services, Inc, Case No. 21-CVS-5376,

from the General Court of Justice, Superior Court Division, for Mecklenburg County, State of

North Carolina, to the United States District Court for the Western District of North Carolina,

Charlotte Division. Removal Jurisdiction exists under 28 U.S.C. §§ 1331 and 1441. In support of

its Notice of Removal, Defendant states as follows:

                                       INTRODUCTION

       1.      On April 5, 2021, Plaintiff Andrea McKinley (“Plaintiff) filed and received an

Application and Order Extending Time to File Complaint (“application”). Thereafter, Plaintiff

filed her Complaint on April 5, 2021 in Mecklenburg County Superior Court (“Complaint”). A

true and accurate copy of the Application is attached hereto as Exhibit A.

       2.      On April 26, 2021, Defendant was served with a copy of the Complaint and

Summons. True and accurate copies of the Complaint and Summons served upon Defendant are

attached hereto as Exhibits B and C, respectively.




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       3.      The Application, Complaint and the Summons attached as Exhibits A, B and C

constitute all of the process, pleadings, and orders served upon Defendant in this action. Defendant

has filed no pleadings in the Superior Court in this action.

                             II.     JURISDICTION AND VENUE

       4.      Venue is proper in the United States District Court for the Western District of North

Carolina, Charlotte Division, as this case was originally filed in Mecklenburg County, North

Carolina. See 28 U.S.C. § 1446(a).

       5.      This Court has subject matter jurisdiction in this case based upon federal question

jurisdiction because the crux of Plaintiff’s lawsuit arises under the laws of the United States.

Specifically, Plaintiff alleges that she was subjected to disability discrimination in violation of the

Americans With Disabilities Act, 42 U.S.C. §12101, et seq. and rights were violated under the

Family Medical Leave Act, 29 U.S.C. §2615(a)(1) and (a)(2).

       6.      Additionally, although Plaintiff also sets forth an additional cause of action against

Defendant alleging a North Carolina statutory claim of “Blacklisting of Employment” pursuant to

NC. Gen. Stat. §14-355, this claim is within the supplemental jurisdiction of this Court under the

provisions of 28 U.S.C. § 1367. All of Plaintiff’s claims arise from an alleged common nucleus

of operative facts and the state law claim is so related to the federal claims that they form the same

case or controversy.

       7.      Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this

action because claims arising under federal law are federal causes of action over which this Court

has original federal question jurisdiction. Thus, this action may be removed on the basis of original

federal question jurisdiction pursuant to 28 U.S.C. § 1441(b).




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                          III.    PROCEDURAL REQUIREMENTS

       8.       This Notice of Removal has been timely filed within thirty (30) days of Defendant’s

receipt of the Complaint as required by 28 U.S.C. § 1446(b).

       9.       In accordance with 28 U.S.C. § 1446(d), a copy of this Notice will be filed with the

Clerk of Mecklenburg County Superior Court and served upon all adverse parties promptly after

the filing of the original Notice of Removal in this action. A copy of this Notice is attached hereto

as Exhibit D.

                                     IV.     CONCLUSION

       WHEREFORE, having fulfilled all statutory requirements, UBS Financial Services, Inc.

hereby removes this action from the General Court of Justice, Superior Court Division,

Mecklenburg County, North Carolina, to this Court, and requests that this Court assume full

jurisdiction over this matter as provided by law.

Dated: May 21, 2021


                                                    /s/ Stephen D. Dellinger
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                                                    Attorneys for Defendant
                                                    UBS Financial Services, Inc.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 21, 2021, I electronically filed the foregoing NOTICE OF

REMOVAL with the Clerk of Court using the CM/ECF system, and served the same upon the

following counsel of record via U.S. Mail, first class, proper postage affixed thereto and addressed

as follows:

                                      Eric Spengler, Esq.
                                 Spengler Agans Bradley, PLLC
                                     325 N. Caswell Road
                                     Charlotte, NC 28204

                                       Attorney for Plaintiff



                                                   /s/ Stephen D. Dellinger
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                                                   UBS Financial Services, Inc.

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